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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                             Civil No. 1:23-cv-00273

      vs.

$1,300 UNITED STATES CURRENCY, and
$10,020 UNITED STATES CURRENCY,

            Defendants.
_______________________________________/

            VERIFIED COMPLAINT FOR FORFEITURE IN REM

      NOW COMES Plaintiff, United States of America, by and through its

attorneys, Mark A. Totten, United States Attorney for the Western District of

Michigan, and Daniel T. McGraw, Assistant United States Attorney, and states upon

information and belief that:

                             NATURE OF THE ACTION

      1.     This is a civil forfeiture action filed pursuant to 21 U.S.C. § 881(a)(6)

and Supplemental Rule G(2) of the Federal Rules of Civil Procedure to forfeit and

condemn to the use and benefit of the United States of America $1,300 United States

Currency and $10,020 United States Currency (the “Defendant Currency”).

                             THE DEFENDANT IN REM

      2.     The Defendant Currency consists of $1,300 and $10,020 in United States

currency that was seized on or about June 3, 2022 by the Drug Enforcement

Administration (DEA) in Kalamazoo County, Michigan. The Defendant Currency is



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currently in the custody of the United States Marshals Service (USMS).

                            JURISDICTION AND VENUE

       3.     This Court has jurisdiction over this proceeding pursuant to 28 U.S.C.

§§ 1345 and 1355(b)(1)(A), because this action is being commenced by the United

States of America as Plaintiff, and the acts giving rise to the basis for forfeiture

occurred in this judicial district.

       4.     Venue is proper before this Court pursuant to 28 U.S.C. § 1355(b)(1)

because the acts or omissions giving rise to forfeiture occurred in this judicial district,

and/or pursuant to 28 U.S.C. § 1395(b), because the Defendant Currency was found

within this judicial district.

                             BASIS FOR FORFEITURE

       5.     As set forth below, the Defendant Currency is subject to forfeiture to the

United States pursuant to 21 U.S.C. § 881(a)(6) because it constitutes (1) money,

negotiable instruments, securities and other things of value furnished or intended to

be furnished in exchange for a controlled substance; and/or (2) proceeds traceable to

such an exchange; and/or (3) money, negotiable instruments, and securities used or

intended to be used to facilitate a violation of the Controlled Substances Act, 21

U.S.C. §§ 841, 846.

                       FACTS SUPPORTING FORFEITURE

       6.     On or about August 18, 2021, Anthony Delane Hudson II sold

approximately one ounce of methamphetamine to an undercover law enforcement

officer in Kalamazoo, Michigan. After the drug deal, Hudson drove to 716 Gilbert



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Avenue, Kalamazoo, Michigan (the Subject Premises).

      7.     On or about November 9, 2021, Hudson sold approximately two ounces

of methamphetamine to an undercover law enforcement officer. After the drug deal,

Hudson drove to the Subject Premises.

      8.     Upon    information    and       belief,   Hudson   continued   to   sell

methamphetamine and fentanyl in the Kalamazoo area through 2021 and into 2022.

      9.     On or about June 1, 2022, Hudson left the Subject Premises and drove

directly to an AutoZone store in Kalamazoo where he conducted a drug deal with an

unknown individual on a motorcycle.

      10.    On or about June 3, 2022, law enforcement executed a search warrant

at the Subject Premises. During the search, Hudson’s mother, Angelina Jones, and

Hudson’s brother, Latrell Hudson, were present.

      11.    In the finished portion of the basement of the Subject Premises,

investigators found a .45 caliber cartridge and $1,300 United States Currency in the

middle compartment of a couch.

      12.    In the unfinished portion of the basement, investigators found a plastic

bag that contained a loaded .45 caliber firearm, and a plastic cup and digital scale

with methamphetamine residue. Investigators also found a Sentry safe that

contained $10,020 United States Currency. Hudson had the key to open the safe in

his possession.

      13.    Investigators interviewed Hudson’s mother, Angelina Jones. During the

interview, Jones stated that Hudson would come and go from the residence and left



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a lot of his belongings there. Jones had never seen the gun investigators found in the

basement. Jones stated that she was aware of the safe in the basement, knew that it

contained cash, and stated that the cash belonged to Hudson.

      14.    On or about August 29, 2022, Hudson pleaded guilty pursuant to a plea

agreement in United States District Court, Western District of Michigan, to

distribution of methamphetamine and fentanyl, in violation of 21 U.S.C. § 841(a)(1).

See Case No. 1:22-cr-00120-RJJ.

      15.    Pursuant to the plea agreement, Hudson agreed that the $1,300 United

States Currency found in the basement couch and the $10,020 United States

Currency found in the basement safe at the Subject Premises are subject to forfeiture

and constitute proceeds of drug trafficking. See Case No. 1:22-cr-00120-RJJ (R.17:

Plea Agreement, PageID.37-38.) Hudson also agreed not to assist any other

individual in contesting the forfeiture of the Defendant Currency and agreed that

there was reasonable cause to seize it. (Id.)




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                                      CLAIM I

      16.    Plaintiff hereby re-alleges paragraphs 1 – 15, as referenced above.

      17.    The Defendant Currency is forfeitable to the United States pursuant to

21 U.S.C. § 881(a)(6) because it constitutes money furnished or intended to be

furnished by any person in exchange for a controlled substance or listed chemical in

violation of 21 U.S.C. Chapter 13, Subchapter I.

                                      CLAIM II

      18.    Plaintiff hereby re-alleges paragraphs 1 – 15, as referenced above.

      19.    The Defendant Currency is forfeitable to the United States pursuant to

21 U.S.C. § 881(a)(6) because it constitutes proceeds traceable to an exchange of

controlled substances in violation of 21 U.S.C. Chapter 13, Subchapter I.

                                     CLAIM III

      20.    Plaintiff hereby re-alleges paragraphs 1 – 15, as referenced above.

      21.    The Defendant Currency is forfeitable to the United States pursuant to

21 U.S.C. § 881(a)(6) because it constitutes money used or intended to be used to

facilitate a violation of 21 U.S.C. Chapter 13, Subchapter I.




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                              REQUESTED RELIEF

      Wherefore, the United States requests that the Court issue a warrant for the

arrest of the Defendant Currency; that due notice be given to all interested parties to

appear and show cause why forfeiture to the United States of America should not be

decreed; and that the Defendant Currency be condemned and forfeited to the United

States of America and be delivered into the custody of the Drug Enforcement

Administration or the United States Marshals Service for disposition according to

law; and for such other relief as this Court may deem just and proper.

                                              MARK A. TOTTEN
                                              United States Attorney


Dated: March 15, 2023                         _______________________________
                                              DANIEL T. McGRAW
                                              Assistant United States Attorney
                                              P.O. Box 208
                                              Grand Rapids, MI 49501-0208
                                              (616) 456-2404




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                                     VERIFICATION

          I am a Task Force Officer of the Drug Enforcement Administration with

personal involvement in this investigation.

          I have read the contents of the foregoing Verified Complaint for Forfeiture In

Rem, and the statements contained therein are true to the best of my knowledge and

belief.

          I declare under penalty of perjury that the foregoing is true and correct.


                                                  MarcelBehnen4090 Digitally signed by
                                                                   MarcelBehnen409005297-90610
Dated: 3/14/23                                    05297-90610      Date: 2023.03.14 14:22:42 -04'00'

                                                  Marcel Behnen
                                                  Task Force Officer
                                                  Drug Enforcement Administration




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